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WAIVER OF POTENTIAL CONFLICT OF INTEREST
September 22, 2021

The signatories below, all charged in the United States District Court for the District of the
District of Columbia with offenses arising out of the events of January 6, 2021 at the US Capitol, hereby
waive any potential conflict of interest in being represented by the same lawyer, John C. Kiyonaga.

 

CPT Mark Sahady, USAR

 

Geoffrey Sills

 

 

Robert Morss

Leave to file GRANTED

   

   
 

TREVOR N. MCFADDEN
United States District Judge

fall
